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           IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
HLFIP HOLDING, INC. d/b/a SMART :            Civil No. 1:20-CV-00186
COMMUNICATIONS IP HOLDINGS, :
                                :
         Plaintiff,             :
                                :
         v.                     :
                                :
YORK COUNTY, PENNSYLVANIA, :
et al.,                         :
                                :
         Defendants.            :           Judge Jennifer P. Wilson

                                   ORDER

    AND NOW, on this 25th day of April, 2022, in accordance with the

accompanying memorandum, IT IS ORDERED AS FOLLOWS:

    1) Defendants’ motion for judgment on the pleadings, Doc. 46, is

       GRANTED and Count 1 of the complaint, Doc. 1, is DISMISSED.

    2) Count 2 of the complaint, Doc. 1, is DISMISSED AS MOOT.

    3) The counterclaims asserted in the second amended answer, Doc. 131, are

       DISMISSED AS MOOT.

    4) The claim construction hearing scheduled for Thursday, May 5, 2022, is

       CANCELLED.

    5) The Clerk of Court is directed to close this case.

                                     s/Jennifer P. Wilson
                                     JENNIFER P. WILSON
                                     United States District Court Judge
                                     Middle District of Pennsylvania
